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                              IN THE UNITED STATES DISTRICT COURT
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                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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12    UNITED STATES OF AMERICA, et al., ex                  Case No. 2:20-cv-00409-JAM-AC
      rel., JOHN CHUNG,
13                                                          ORDER ON STATE OF CALIFORNIA’S
                                                            NOTICE OF ELECTION TO DECLINE
14                                  Plaintiffs,             INTERVENTION AND CONSENT TO
                                                            DISMISSAL
15                            v.

16    THE KROGER CO., d/b/a/ KROGER,
      KROGER FRESH FARE, KROGER
17
      MARKETPLACE, et al.,
18
                                    Defendants.
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            The State of California (“California”), having declined to intervene in this action pursuant
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     to the California False Claims Act, California Government Code section 12652, subdivision
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     (c)(6)(B), and each of the named plaintiff States of States of Colorado, Delaware, Florida, Georgia,
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     Illinois, Indiana, Louisiana, Maryland, Michigan, Montana, Nevada, New Mexico, North Carolina,
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     Tennessee, Texas, and Washington, the Commonwealth of Virginia, and the District of Columbia
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     (hereinafter, “States”) having indicated to California that they join in California’s Notice of
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     Election to Decline Intervention and Consent to Dismissal, the Court rules as follows:
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            IT IS ORDERED that,
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                   ORDER ON STATE OF CALIFORNIA’S NOTICE OF ELECTION TO DECLINE INTERVENTION
                                  AND CONSENT TO DISMISSAL (2:20-CV-409 JAM AC)
     Case 2:20-cv-00409-JAM-AC Document 18 Filed 07/31/23 Page 2 of 2


 1          1.         Only the qui tam complaint, California’s Notice of Election to Decline Intervention,

 2   this Order, and any similar notice and proposed order filed by the United States shall be unsealed

 3   and served upon the defendants by the relator. All other contents of the Court’s file in this matter

 4   shall remain under seal and not be made public or served upon the defendants;

 5          2.         To the extent required by any of the States’ respective False Claims Acts, the parties

 6   shall serve all pleadings and motions filed in this action, including supporting memoranda, upon

 7   the States;

 8          3.         All orders of this Court shall be sent to California;

 9          4.         The States may order any deposition transcripts and are entitled to intervene in this

10   action, for good cause, at any time;

11          5.         The parties shall serve all notices of appeal upon the States;

12          6.         All claims asserted on the behalf of the State of Maryland are dismissed without

13   prejudice; and,

14          7.         Should the relator seek voluntary dismissal of the states’ claims, the States consent

15   to said dismissal without prejudice as to the States’ respective claims.

16          IT IS SO ORDERED.

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      Dated: July 28, 2023                              /s/ John A. Mendez
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                                                        THE HONORABLE JOHN A. MENDEZ
19                                                      SENIOR UNITED STATES DISTRICT JUDGE
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                   ORDER ON STATE OF CALIFORNIA’S NOTICE OF ELECTION TO DECLINE INTERVENTION
                                  AND CONSENT TO DISMISSAL (2:20-CV-409 JAM AC)
